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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                  _____________________

UNITED STATES OF AMERICA,
                                                              Case No. 1:03-CR-34-01
               Plaintiff,

v.                                                            Hon. Richard Alan Enslen

CHRISTOPHER GRAYLAND BOOSE,
                                                              ORDER
            Defendant.
_________________________________/

       Defendant Christopher Grayland Boose has submitted to the Court a letter motion requesting

amendment of his Pre-Sentence Investigation Report (to omit a firearm enhancement) for the

purpose of facilitating his programming within the Federal Bureau of Prisons. While his sentiments

and desire for programming are wholly appropriate and to be encouraged, the Court lacks jurisdiction

to approve the relief sought. Defendant was sentenced on July 29, 2003. This Court lacks

jurisdiction to correct a sentence more than seven days after oral pronouncement of sentence, which

limitation has been strictly enforced by the Sixth Circuit Court of Appeals. See Fed. R. Cr. P. 35(a);

United States v. Vicol, 460 F.3d 693, 695 (6th Cir. 2006); United States v. Warner, 23 F.3d 287, 290

(10th Cir. 1994).

       THEREFORE, IT IS HEREBY ORDERED that Defendant Christopher Grayland Boose’s

letter motion (Dkt. No. 58) is DENIED.

                                               /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                        RICHARD ALAN ENSLEN
    March 31, 2008                             SENIOR UNITED STATES DISTRICT JUDGE
